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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:09CR141
                vs.                               )
                                                  )                     ORDER
SABRINA KING,                                     )
                                                  )
                         Defendant.               )

        Defendant Sabrina King (King) appeared before the court on May 11, 2012, on the Amended
Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 120). King was
represented by Assistant Federal Public Defender Richard McWilliams and the United States was
represented by Assistant U.S. Attorney Kimberly C. Bunjer. Through her counsel, King waived her right
to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition
alleges probable cause and that King should be held to answer for a final dispositional hearing before
Judge Joseph F. Bataillon.
        The government moved for detention. Through counsel, King requested release pending her
dispositional hearing. Due to her lackluster performance on supervised release, the court finds King has
failed to carry her burden and that King should be detained pending a dispositional hearing before Judge
Bataillon subject to being placed in a residential treatment program.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 1:00
p.m. on June 12, 2012. Defendant must be present in person.
        2.      Defendant Sabrina King is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 11th day of May, 2012.

                                                           BY THE COURT:
                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
